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                United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________


No. 23-3154                                                September Term, 2023
                                                                    1:23-cr-00069-CKK-1
                                                  Filed On: February 1, 2024 [2038339]
United States of America,

             Appellee

      v.

Isaac Anthony Thomas,

             Appellant

                                        ORDER

        By order filed December 4, 2023, appellant was ordered to file Memorandum of
Law and Fact by January 3, 2024. To date, nothing has been filed. Upon consideration
of the foregoing, it is

      ORDERED that this case be dismissed for lack of prosecution. See D.C. Cir.
Rule 38.

      The Clerk is directed to issue the mandate in this case by March 18, 2024.

                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Hannah N. Gorman
                                                         Deputy Clerk
